                                                      Case 2:24-cv-01009-SPG-SK Document 41 Filed 06/18/24 Page 1 of 2 Page ID #:282
      UNITED STATES DISTRICT COURT                                                                                           TRANSCRIPT ORDER FORM                                                                            COURT USE ONLY
    CENTRAL                 DISTRICT             OF    CALIEORNIA                                   Please use one form per court reporter per case, and contact court reporter                                                 DUE     DATE:
                                                                                                directly immediately after e-filing form.                    (Additional instructions on next page.)

    la. Contact Person                      :                                                             2a. Contact Phone                                                      3a. Contact E-mail
       for this Order _ | Katherine
                          Katherine Loftus
                                    Loftus                                                                     Number                  949-823-6910
                                                                                                                                       949-823-6910                                   Address               kloftus@omm.com
                                                                                                                                                                                                            kloftus@omm.com


   1b. Attorney Name                  ，              ，                                                    2b. Attorney Phone                                                     3b. Attorney E-mail                   。
                                 Daniel
                                 Daniel M.
                                        M. Petrocelli
                                           P      II                                                           Number                  310-553-6700
                                                                                                                                        10-553-67
                                                                                                                                       310-553-6700                                   Address               dpetrocelli@omm.com
                                                                                                                                                                                                                    Il      .
                                                                                                                                                                                                            dpetrocelli@omm.com
       (if different)                anie       etrocell

  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                                   5. Name & Role of
                                                                                                                                                          Defendants
                                                                                                                                                          Defendants The
                                                                                                                                                                     The Walt
                                                                                                                                                                         Walt Disney
                                                                                                                                                                              Disney Company,
                                                                                                                                                                                     Company, Lucasfilm
                                                                                                                                                                                              Lucasfilm Ltd.
                                                                                                                                                                                                        Ltd. LLC,
                                                                                                                                                                                                             LLC, and
                                                                                                                                                                                                                  and Huckleberry
                                                                                                                                                                                                                      Huckleberry Industries
                                                                                                                                                                                                                                  Industries (US)
                                                                                                                                                                                                                                             (US) Inc.
                                                                                                                                                                                                                                                  Inc.                                              i
                                                                                                                                 Party Represented
   O'MELVENY
   O'MELVENY &  & MYERS
                    MYERS LLPLLP
   1999
   1999 Avenue
        Avenue ofof the
                    the Stars,
                        Stars, 8ᵗʰ
                               8th Floor
                                   Floor
   Los
   Los Angeles,
       Angeles, California
                California 90067-6035
                             90067-6035                                                                                       6. Case Name                Gina
                                                                                                                                                          Gina Carano
                                                                                                                                                               Carano v.
                                                                                                                                                                      v. The
                                                                                                                                                                         The Walt
                                                                                                                                                                             Walt Disney
                                                                                                                                                                                  Disney Company
                                                                                                                                                                                         Company et
                                                                                                                                                                                                 et al.
                                                                                                                                                                                                    al.


                                                                                                                              7a. District Court           .DA         _    _                                        7b. Appeals Court
                                                                                                                                                          2:24-cv-01009-SPG-SK
                                                                                                                                  Case Number             2:24-cv-01009-SPG-SK                                           Case Number

  8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
                  oO        DIGITALLY RECORDED                               TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER:                                              Mariam Baird
                                                                                                                                                                                  |Mariam Baird


 9. THIS TRANSCRIPT ORDER IS FOR:                      [| ] Appeal                Non-Appeal                      品     Criminal               Civil                C] CJA      [] USA          [J   FPD     [[ I» forma pauperis (Court order for transcripts must be attached)

                                                                                                                                                                                                You MUST          check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED                    (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):                                    provide the "Release of Transcript Restriction" date in column c, below.

  a. HEARING(S)、     OR PORTIONS
                          -            OF - HEARINGS (Attach additional pages - if necessary. If sealed, a court                                                                  (CM/ECE access included               c. RELEASE OF TRANS. | g.                    DELIVERY TYPE
  order releasing transcript to the ordering party must be attached here or emailed to                                                          b. SELECT FORMAT(S)              yi, purchase of transcript.)            RESTRICTION DATE               | 30-day, 14-day, 7-day, 3-day, Daily, Hourly
  transcripts_cacd@cacd.uscourts.gov.)
   HEARING          Minute Order            JUDGE                            PROCEEDING TYPE / PORTION                                                    TEXT /               CONDEN-     CM/ECF          worp           (Provide release date of             (Check with court reporter
     DATE              Docket#                               If requesting less than full hearing, specify portion (e.g., witness or time).      PDF       ASCII     PAPER       SED       ACCESS                      efiled transcript, or check to      before choosing any delivery time
                        (if available)      (name)         CJA orders: indicate if openings, closings, voir dire, or instructions requested,    (email)   (email)               (email)      (web)    INDEXING           certify none yet on file. )          sooner than "Ordinary-30.")

   6/12/24
   6/12/24          40
                    40                   Judge
                                         Judge Garnett
                                               GarnettlIHearing on Motion
                                                        Hearing on Motion to
                                                                          to Dismiss
                                                                             Dismiss                                                            ©         O           O          O          O           O               O                                  ORDINARY (30-day)

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  11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be
  requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).




  12. ORDER & CERTIFICATION.                               By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
  payment under the Criminal Justice Act.
                                                                                                       Date         6/18/24
                                                                                                                    |6/17/24                                                 Signature
G-120 (06/18)
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